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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )          Case No. 4:11CR3110-2
                         Plaintiff,                )
                                                   )
       vs.                                         )          TENTATIVE
                                                   )          FINDINGS
KENNETH A. JONES,                                  )
                                                   )
                         Defendant.                )

       I am in receipt of the presentence investigation report and the parties’ objections
thereto in this case.


       IT IS ORDERED that:


       (1)       The undersigned will consult and follow the Guidelines to the extent permitted
and required by United States v. Booker, 543 U.S. 220(2005) and subsequent cases. See,
e.g., Gall v. U.S., --- S.Ct. ----, 2007 WL 4292116 (2007). In this regard, the undersigned
gives notice that, unless otherwise ordered, he will (a) give the advisory Guidelines such
weight as they deserve within the context of each individual case and will filter the
Guidelines' general advice through §3553(a)'s list of factors 1; (b) resolve all factual disputes
relevant to sentencing by the greater weight of the evidence and without the aid of a jury; (c)
impose upon the government the burden of proof on all Guideline-enhancements; (d) impose
upon the defendant the burden of proof on all Guideline-mitigators; (e) depart from the
advisory Guidelines, if appropriate, using pre-Booker departure theory; and (f) in cases
where a departure using pre-Booker departure theory is not warranted, deviate or vary from
the Guidelines when there is a principled reason which justifies a sentence different than that
called for by application of the advisory Guidelines.2


       (2)       The government’s objection (filing 88) to acceptance of responsibility and the
defendant’s objection (filing 85) regarding drug quantity and obstruction of justice will be


       1
           However, I will no longer give the Guidelines “substantial weight.”
       2
           See note 1.
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resolved at a 1.5 hour evidentiary hearing with sentencing to follow. The evidentiary
hearing and sentencing will be held on Friday, August 10, 2012, starting at 12:00 noon,
in Courtroom No. 2.


       (3)    Except to the extent (if at all) that I have sustained an objection or granted a
motion or reserved an issue for later resolution in the preceding paragraph, the parties are
herewith notified that my tentative findings are that the presentence report is correct in all
respects.


       (4)    If any party wishes to challenge these tentative findings, said party shall, as
soon as possible, but in any event at least five (5) business days before sentencing, file in the
court file and serve upon opposing counsel and the court a motion challenging these tentative
findings, supported by (a) such evidentiary materials as are required (giving due regard to
the requirements of the local rules of practice respecting the submission of evidentiary
materials), (b) a brief as to the law and (c) if an evidentiary hearing is requested, a statement
describing why an evidentiary hearing is necessary and how long such a hearing would take.


       (5)    Absent submission of the information required by the preceding paragraph of
this order, my tentative findings may become final and the presentence report may be
adopted and relied upon by me without more.


       (6)    Unless otherwise ordered, any motion challenging these tentative findings shall
be resolved at sentencing.


       July 20, 2012.

                                               BY THE COURT:
                                               Richard G. Kopf
                                               Senior United States District Judge




                                              -2-
